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5
     Attorneys for Objectors John Andren, Matthew Lilley,
6    and Joseph S. St. John
7
                                          UNITED STATES DISTRICT COURT
8
                                       NORTHERN DISTRICT OF CALIFORNIA
9
                                                    SAN JOSE DIVISION
10

11   IN RE: GOOGLE LOCATION HISTORY                           Case No. 5:18-cv-05062-EJD
     LITIGATION
12
                                                              DECLARATION OF JOHN ANDREN
13

14   JOHN ANDREN, MATTHEW LILLEY, and
     JOSEPH S. ST. JOHN                                       Time:        9:00 A.M.
                                                              Date:        April 18, 2024
15                                                            Judge:       Hon. Edward J. Davila
                             Objector.
                                                              Courtroom:   4, 5th Floor
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1            I, John Michael Andren, declare as follows:

2            1.      I have personal knowledge of the facts set forth herein and, if called as a witness, could and

3    would testify competently thereto.

4            2.      My business address is Hamilton Lincoln Law Institute, 1629 K St. NW, Suite 300, Washington,

5    DC 20006. My telephone number is (703) 582-2499. My work email address is john.andren@hlli.org.

6            3.      Hamilton Lincoln Law Institute (“HLLI”), its Center for Class Action Fairness (“CCAF”), and

7    its attorneys, of which I am one, represent me in this matter.

8            4.      I intend to appear through my counsel Ted Frank at the fairness hearing currently scheduled

9    for April 18, 2024.

10           5.      I am a Settlement Class Member as defined by the Settlement because my personal email

11   address associated with my Google account, and related to my claim here, is john.andren@gmail.com. And I

12   am a natural person who resided in the United States and used one or more mobile devices while “Location

13   History” was disabled during the class period.

14           6.      Specifically, my Google account settings show that my Location History has been off since at

15   least October 7, 2021. To the best of my knowledge I had affirmatively selected to have my Location History

16   turned off before this date as well. However, Google’s settings does not provide such information. While

17   Location Services were turned off, I used numerous Google apps and services, including at least Gmail, Google

18   Search, Google Maps, YouTube, Google Drive, Google Translate, and Google Calendar.

19           7.      Most of these services were accessed and used from my personal Apple iPhone, of which I

20   owned various versions throughout the class period. I also accessed these services from multiple iPads, and

21   Apple laptops throughout the class period, and with certainty from my current iPad and laptop since October

22   7, 2021, the date from which Google reflects my Location History set to off.

23           8.      On information and belief, Google acquired and stored my location information while I was

24   using their services.

25           9.      I am not excluded from class membership because I am not a director, officer, employee, or

26   agent of Google or its subsidiaries and affiliated companies and I have not requested to be excluded from the

27   Settlement.

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1            10.     The specific grounds of my objection are identified in the memorandum to be filed by my

2    attorney contemporaneously with this declaration.

3            11.     I disagree with at least portions of the advocacy and policy views advanced by certain of the cy

4    pres recipients, including the ACLU Foundation of Northern California and the ACLU’s Speech, Privacy, and

5    Technology (SPT) Project, and I do not wish to fund or subsidize those organizations and their views, nor do

6    I wish to be associated with them. For example, the ACLU (and it’s affiliates and projects, of which are these

7    proposed cy pres recipients) has retreated from its status as an unapologetic and unwavering protector of First

8    Amendment rights and now advocates a much narrower view of the First Amendment. See Joe Lancaster, The

9    ACLU Is Struggling To Find Its Identity In Post-Trump America, REASON, June 20, 2022. 1 I am unfamiliar with many

10   of the other proposed recipients but am concerned by many of the organizations self-descriptions, which

11   include references to “social justice,” “environmental justice,” and diversity causes that I believe are

12   fundamentally unjust and I do not wish to fund such organizations nor associate myself with their work. See,

13   e.g., Rose Foundation Cy Pres Proposal, p.1 (“We work towards a future where nature is protected, people’s

14   rights are ensured, and social and environmental justice is advanced.”). 2

15           12.     My objection apples to the entire class.

16           13.     I would not find it financially feasible to vindicate any claims I might have against Google

17   defendants via an individual suit for money damages.

18           14.     I bring this objection in good faith. I have no intention of settling this objection for any sort

19   of side payment. Unlike many objectors who attempt or threaten to disrupt a settlement unless plaintiffs’

20   attorneys buy them off with a share of attorneys’ fees, it is my understanding and belief that CCAF does not

21   engage in quid pro quo settlements and will not withdraw an objection or appeal in exchange for payment.

22           15.     Thus, if contrary to CCAF’s practice and recommendation, I agree to withdraw my objection

23   or any subsequent appeal for a payment by plaintiffs’ attorneys or the defendant(s) paid to me or any person

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             Available at https://reason.com/2022/06/20/the-aclu-is-struggling-to-find-its-identity-in-post-
             1


27   trump-america/.
            Available at https://www.googlelocationhistorysettlement.com/Content/Documents/Cy%20Pres/
             2
28   Rose%20Foundation.pdf.
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1    or entity related to me in any way without court approval, I hereby irrevocably waive any and all defenses to a

2    motion seeking disgorgement of any and all funds paid in exchange for dismissing my objection or appeal.

3            I declare under penalty of perjury under the laws of the United States of America that the foregoing

4    is true and correct.

5            Executed on March 4, 2024, in Palmetto Bay, Florida.

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10                                                         John M. Andren
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            Case No. 5:18-cv-05062-EJD                                                                    3
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